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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA

nr

VS.

DEMETRIUS DELAAN WHITE
aka D

Case No. 4:19-CR-228-S

Cr Lr LP Lr LN Lr LN Lr

Defendant.
PLEA AGREEMENT |

The United States of America, by and through Ryan K. Patrick, United States
Attorney for the Southern District of Texas, and Eun Kate Suh and Sebastian A.
Edwards, Assistant United States Attorneys, and the Defendant, Demetrius Delaan
White aka “D” (“Defendant”), and Defendant’s counsel, pursuant to Rule
11(c)(1)(A) of the Federal Rules of Criminal Procedure, state that they have entered

into an agreement, the terms and conditions of which are as follows:

Defendant’s Agreement

1. Defendant agrees to the filing of a Superseding Information and to
plead guilty to Count One of the Superseding Information. Count One charges
Defendant with sex trafficking of 2 minor, in violation of Title 18, United States
Code, Section 1591(a),(b), and (c). Defendant, by entering this plea, agrees that he
is waiving any right to have the facts that the law makes essential to the punishment

either charged in the Superseding Information, or proved to a jury or proven beyond

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a reasonable doubt.
Punishment Range

2. The statutory maximum penalty for each violation of Title 18, United
States Code, Section 1591(a),(b), and (c), is a mandatory minimum term of
imprisonment of 10 years and up to life imprisonment and’a fine of not more than
$250,000. Additionally, Defendant may receive a term of supervised release after
imprisonment of at least five years and up to life. See Title 18, United States Code,
Sections 3559(a)(1) and 3583(k). Defendant acknowledges and understands that if
he should violate the conditions of any period of supervised release which may be

imposed as part of his sentence, then Defendant may be imprisoned for the entire

term of supervised release, without credit for time already served on the term of |

supervised release prior. to such violation. See Title 18, United States Code,
sections 3559(a)(1) and 3583(k). Defendant understands that he cannot have the
imposition or execution of the sentence suspended, nor is he eligible for parole.

3, Defendant understands that under the Sex Offender Registration and
Notification Act, the Defendant must register and keep such information current in
the jurisdictions where the Defendant resides, is employed, and is a student. The
Defendant further understands that the requirement to keep the registration current
includes informing such jurisdictions not later than three (3) business days after any

change of the Defendant’s name, residencé, employment or student status. The

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Defendant understands that failure to comply with these obligations subjects the

Defendant to prosecution for failure to register under federal law, specifically, Title

18, United States Code, Section 2250, as well as applicable state statutes.
Mandatory Special Assessment

4. Pursuant to Title 18, United States Code, section 3013(a)(2)(A),
immediately after sentencing, Defendant will pay to the Clerk of the United States
District Court a special assessment in the amount of one hundred dollars ($100.00)
per count of conviction. The payment will be by cashier’s check or money order,
payable to the Clerk of the United States District Court, c/o District Clerk’s Office,
P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

5. Pursuant to Title 18, United States Code, Section 3014(a), if the court
determines that the Defendant is a non-indigent person, the Defendant will pay to
the Clerk of the United States District Court a special assessment in the amount of
five thousand dollars ($5000.00) per count of conviction. The payment will be by
cashier’s check or money order, payable to the Clerk of the United States District
Court, c/o District clerk’s Office, P.O. Box 61010, Houston, TX 77208, Attention:
Finance. | |

Waiver of Appeal and Collateral Review
6. Defendant is aware that Title 28, United States Code, Section 1291, and

Title 18, United States Code, Section 3742, afford a defendant the right to appeal the

 
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conviction and sentence imposed. Defendant is also aware that Title 28, United
States Code, Section 2255, affords the right to contest or “collaterally attack” a
conviction or sentence after the judgment of conviction and sentence has become
final. Defendant knowingly and voluntarily waives the right to appeal or
“collaterally attack” the conviction and sentence, except that Defendant does not

waive the right to raise a claim of ineffective assistance of counsel on direct appeal,

if otherwise permitted, or on collateral review in a motion under Title 28, United

States Code, Section 2255. Defendant’s knowing and voluntary waiver of the right _

to appeal or collaterally attack the conviction and sentence includes waiving the right
to raise on appeal or on collateral review any argument that (1) the statute(s) to which
the Defendant is pleading guilty is unconstitutional and (2) the admitted conduct
does not fall within the scope of the statute(s). In the event Defendant files a notice
of appeal following the imposition of the sentence or later collaterally attacks his
conviction or sentence, the United States will assert its rights under this agreement
and seek specific performance of these waivers.

7. In agreeing to these waivers, Defendant is aware that a sentence has not
yet been determined by the Court. Defendant is also aware that any estimate of the
possible sentencing range under the sentencing guidelines that he may have received
from his counsel, the United States or the Probation Office, is a prediction and not a

promise, did not induce his guilty plea, and is not binding on the United States, the

 
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Probation Office or the Court. The United States does not make any promise or
representation concerning what sentence the Defendant will.receive. Defendant
further understands and agrees that the United States Sentencing Guidelines are
“effectively advisory” to the Court. See United States v. Booker, 543 U.S. 220
(2005). Accordingly, Defendant understands that, although the Court must consult

the Sentencing Guidelines and must take them into account when sentencing

Defendant, the Court is not bound to follow the Sentencing Guidelines nor sentence
Defendant within the calculated guideline range.

8. Defendant understands and agrees that each and all waivers contained
in the Agreement are made in exchange for the concessions made by the United
States in this Plea Agreement.

_ The United States’ Agreements
9. The United States agrees to each of the following: —

(a) If the Defendant pleads guilty to Count One of the
- Superseding Information and persists in that plea through
sentencing, and if the Court accepts this Plea Agreement,
the United States will move to dismiss the Indictment at

the time of sentencing; and

(b) If the Court determines that Defendant qualifies for an
adjustment under section 3E1.1(a) of the United States
Sentencing Guidelines, and the offense level prior to
operation of section 3E1.1(a) is 16 or greater, the United
States will move under section 3E1.1(b) for an additional
one-level reduction because Defendant timely notified
authorities of his intent to plead guilty, thereby permitting —
the United States to avoid preparing for trial and

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permitting the United States and the Court to allocate their
resources more efficiently.

Agreement Binding
10. The United States will not further criminally prosecute the Defendant
for offenses arising from conduct charged in the Superseding Information. _ The
United States Attorney’s Office for the Southern District of Texas will bring this
Plea Agreement and the full extent of Defendant’s cooperation to the attention of
other prosecuting offices, if requested.
United States’ Non-Waiver of Appeal
11. | The United States reserves the right to carry out its responsibilities
under guidelines sentencing. Specifically, the United States reserves the right:
(a) to bring its version of the facts of this case, including its
evidence file and any investigative files, to the attention of
the Probation Office in connection with that office’s

preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material
to sentencing;

(c) to seek resolution of such factors or facts in conference
with Defendant’s counsel and the Probation Office;

(d) to file a pleading relating to these issues, in accordance
with section 6A1.2 of the United States Sentencing
Guidelines and Title 18, United States Code, Section
3553(a); and

(e) to appeal the sentence imposed or the manner in which it
was determined.
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Sentence Determination

12. Defendant is aware that the sentence will be imposed after
consideration of the United States Sentencing Guidelines and Policy Statements,
~ which are only advisory, as well as the provisions of Title 18, United States Code,
Section 3553(a). Defendant nonetheless acknowledges and agrees that the Court
has authority to impose any sentence up to and including the statutory maximum set
for the offenses to which Defendant pleads guilty, and that the sentence to be
imposed is within the sole discretion of the sentencing judge after the Court has
consulted the applicable Sentencing Guidelines. Defendant understands and agrees
that the parties’ positions regarding the application of the Sentencing Guidelines do
not bind the Court and that the sentence imposed is within the discretion of the
sentencing judge. If the Court should impose any sentence up to the maximum
established by statute, or should the Court order any or all of the sentences imposed
to run consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea,
and will remain bound to fulfill all of the obligations under this Plea Agreement.

Rights at Trial

13. Defendant understands that by entering into this agreement, he
surrenders certain rights as provided in this Plea Agreement. Defendant
understands that the rights of a defendant include the following:

(a) Ifthe Defendant persisted in a plea of not guilty to the
charges, defendant would have the right to a speedy jury

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trial with the assistance of counsel. The trial may be .
conducted by a judge sitting without a jury if Defendant,
the United States, and the court all agree.

(b) Ata trial, the United States would be required to present
witnesses and other evidence against Defendant.
Defendant would have the opportunity to confront those
witnesses and his attorney would be allowed to cross-
examine them. In turn, Defendant could, but would not
be required to, present witnesses and other evidence on his
own behalf. If the witnesses for Defendant would not
appear voluntarily, he could require their attendance
through the subpoena power of the court; and

(c)  Atatrial, Defendant could rely on a privilege against self-
incrimination and decline to testify, and no inference of
guilt could be drawn from such refusal to testify.
However, if Defendant desired to do so, he could testify -
on his own behalf.
Factual Basis for Guilty Plea
14. Defendant is pleading guilty because he is in fact guilty of the charges
contained in Count One of the Superseding Information. If this case were to
proceed to trial, the United States could prove each element of the offense beyond a
reasonable doubt. The following facts, among others would be offered to establish
Defendant’s guilt:
In early November 2017, Defendant Demetrius Delaan White aka “D”
(“White”) and co-defendant Deonte Danquise Bailey-Roach aka “Shein,” (“Bailey-

Roach”) recruited 17-year-old Minor Victim M.W. via social media. White and

Bailey-Roach communicated with M.W. via video chat and text. On November 6,
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2017, White and Bailey-Roach drove approximately 2 hours in a tan/silver Chevy
Malibu to Stephenville, Texas to pick up M.W. from her parent’s house. When
M.W. expressed she was worried about leaving and that she did not want to get
caught, White instructed M.W. to “play it smart and run to the car.” When White
and Bailey-Roach were 20 minutes away from M.W.’s parent’s house, White asked
again whether M.W.’s parents were home.

White and Bailey-Roach took M.W. to a motel in Houston, Texas. At the
motel, both White and Bailey-Roach had sex with M.W. Both White and Bailey-
Roach recorded videos of themselves having sex with M.W. at the same time and
made comments in the video about selling the video of themselves with M.W. for
money. The cellphone used by White to facilitate this crime was a black Apple
iPhone, IMEI 359402083718507. The cellphone used by Bailey-Roach to facilitate
this crime was a black Samsung Galaxy S8 cellular phone, IMEI 355987081390733.

White’s sister, Christina, took M.W. to buy lingerie so that the defendants and
Christina could post M.W. wearing lingerie on Backpage. M.W. was posted on
Backpage numerous times from November 7, 2017 until November 10, 2017, when
M.W. was recovered by law enforcement. The Defendants’ use of Backpage and
their cellphones constitutes the use of facilities in and affecting interstate commerce.

The Defendants set up a phone number through TextNow for M.W.’s

Backpage ad. TextNow is a free texting and calling application that allows users to
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sign up with an email address. Moreover, TextNow can be set up so that numerous
users are able to receive and send text messages for the same issued phone number.
For example, when a sex client contacted the phone number on M.W.’s Backpage
ad, the Defendants also received the text messages on their phones and responded
directly to the client.

During the approximately 3 days that M.W. was posted on Backpage, over
300 individuals expressed interest in sex with Minor Victim M.W. White and
Bailey-Roach had M.W. go to client’s homes, truck stops, walk on Bissonnet Street,
and in motel rooms So that M.W. would engage in commercial sex for their benefit.
The Bissonnet Street is commonly referred to as the “Track” or the “Blade,” an area
well-known for prostitution in Houston, Texas. M.W. stated that White and Bailey- |
Roach gave her ecstasy drugs before the sex dates and had M.W. engage in anal sex
with clients for extra money. M.W. was not permitted to keep the money from the
commercial sex acts.

On November 10, 2017, M.W. was picked up by an undercover officer posing
as a client. M.W. was then taken to the Texas Children’s Hospital, where she was
medically examined. The sexual assault nurse examiner noted that M.W. estimated
having sex with approximately 50 individuals and that M.W. was in pain and had
multiple abrasions and a tear on her genitalia. Between November 6, 2017 and

November 10, 2017, the Defendants had a reasonable opportunity to observe MW.

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by staying with her in motel rooms, driving her to sex dates, and having sex with

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her.
Breach of Plea Agreement

15. If Defendant should fail in any way to fulfill completely all of the
obligations under this Plea Agreement, the United States will be released from its
obligations under the Plea Agreement, and Defendant’s plea and sentence will stand.
If at any time Defendant retains, conceals, or disposes of assets in violation of this
Plea Agreement, or if Defendant knowingly withholds evidence or is otherwise not
completely truthful with the United States, then the United States may move the
Court to set aside the guilty plea and reinstate prosecution. Any information and
documents that have been disclosed by Defendant, whether prior to or subsequent to
this Plea Agreement, and all leads derived therefrom, will be used against Defendant
in any prosecution.

Restitution, Forfeiture, and Fines — Generally

16. This Plea Agreement is being entered into by the United States on the
basis of Defendant’s express representation that he will make a full and complete
disclosure of all assets over which he exercises direct or indirect control, or in which
he/she has any financial interest. Defendant agrees not to dispose of any assets or
take any action that would effect a transfer of property in which he has an interest,

unless Defendant obtains the prior written permission of the United States.

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17. Defendant agrees to make complete financial disclosure by truthfully
executing a sworn financial statement (Form OBD-500 or similar form) within 14
days of signing this Plea Agreement. Defendant agrees to authorize the release of
all financial information requested by the United States, including, but not limited
to, executing authorization forms permitting the United States to obtain tax
information, bank account records, credit histories, and social security information.
Defendant agrees to discuss and answer any questions by the United States relating
to Defendant’s complete financial disclosure.

18. Defendant agrees to take all steps necessary to pass clear title to
forfeitable assets to the United States and to assist fully in the collection of restitution
and fines, including, but not limited to, surrendering title, executing a warranty deed,
signing a consent decree, stipulating to facts regarding the transfer of title and the
basis for the forfeiture, and signing any other documents necessary to effectuate such
transfer. Defendant also agrees to direct any banks which have custody of his assets
to deliver all funds and records of such assets to the United States,

19. Defendant understands that forfeiture, restitution, and fines are separate
components of sentencing and are separate obligations.

Restitution
20. Defendant agrees to pay any applicable restitution to Minor Victim

M.W. regardless of the count of conviction and pursuant to Title 18, United States

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Code, Section 1593. Defendant understands and agrees that the Court will
determine the amount of restitution to fully compensate the victims. Defendant
agrees that restitution imposed by the Court will be due and payable immediately
and that Defendant will not attempt to avoid or delay payment. Subject to the
provisions of paragraph 6 above, Defendant waives the right to challenge in any
manner, including by direct appeal or in a collateral proceeding, the restitution order
‘imposed by the Court.
Forfeiture

21. Defendant stipulates and agrees that any applicable property listed in
the Superseding Information’s Notice of Forfeiture (and in any supplemental
Notices) is subject to forfeiture, and Defendant agrees to the forfeiture of that
property.

22. Defendant agrees to waive any and all interest in any asset which is the
subject of a related administrative or judicial forfeiture proceeding, whether criminal
or civil, federal or state.

23. Defendant consents to any order of forfeiture. becoming final as to
Defendant immediately following this guilty plea, pursuant to Federal Rule of
Criminal Procedure 32.2(b)(4)(A).

24. Subject to the provisions of paragraph 6 above, Defendant waives the

right to challenge any applicable forfeiture of property in any manner, including by

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direct appeal or in a collateral proceeding.
Fines

25. Defendant understands that under the Sentencing Guidelines the Court
is permitted to order Defendant to pay.a fine that is sufficient to reimburse the
government for the costs of any imprisonment or term of supervised release, if any.
Defendant agrees that any fine imposed by the Court will be due and payable
immediately, and Defendant will not attempt to avoid or delay payment. Subject to
the provisions of paragraph 6 above, Defendant waives the right to challenge the fine
in any manner, including by direct appeal or in a collateral proceeding.

Complete Agreement

26. This written Plea Agreement, consisting of 17 pages, including the
attached addendum of Defendant and his attorney, constitutes the complete Plea
Agreement between the United States, Defendant, and Defendant’s counsel. No
promises or representations have been made by the United States except as set forth
in writing in this Plea Agreement. Defendant acknowledges that no threats have
been made against his and. that he is pleading guilty freely and voluntarily because
he is guilty.

27. Any modification of this Plea Agreement must be in writing and signed

by all parties.

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Defendant Demetrius Delaan White

Subscribed and sworn to before me on Tew ary al T

 

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DAVID J. BRADLEY, Clerk
UNITED STATES DISTRICT CLERK

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Deputy United States District Cle

APPROVED:

Ryan K. Patrick
United States Attorney

py: Kaley MEA LAC
Kate Suh Phil Gallagher
Sebastian Edwards Assistant Federal Public Defender
Assistant United States Attorneys
Southern District of Texas

Telephone: 713-567-9000

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA |

VS.

DEMETRIUS DELAAN WHITE Case No. 4:19-CR-228-S

aka D

LP SL Or LN SP LN Lr Lr

Defendant.

PLEA AGREEMENT ADDENDUM

I have fully explained to Defendant his rights with respect to the pending
Information. I have reviewed the provisions of the United States Sentencing
Commission’s Guidelines Manual and Policy Statements and I have fully and
carefully explained to Defendant the provisions of those Guidelines which may
apply in this case. I have also explained to Defendant that the Sentencing
Guidelines are only advisory and the court may sentence Defendant up to the
maximum allowed by statute per count of conviction. Further, I have carefully
reviewed every part of this plea agreement with Defendant. To my knowledge,

Defendant’s decision to enter into this agreement is an informed and voluntary one.

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Phil Gallagher Date
Assistant Federal Public Defender

 

 

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I have consulted with my attorney and fully understand all my rights with
respect to the Information pending against me. My attorney has fully explained,
and I understand, all my rights with respect to the provisions of the United States
Sentencing Commission’s Guidelines Manual which may apply in my case. I have
read and carefully reviewed every part of this plea agreement with my attorney. I

understand this agreement and J voluntarily agree to its terms.

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Demetrius Delaan White Date
Defendant

 

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